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                                                       Thursday, 02 July, 2020 04:29:00 PM
                                                             Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
           FOR THE CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,              )
                                       )
               Plaintiff,              )
                                       )
     v.                                )         Case No. 14-cr-30024-2
                                       )
BELINDA YOUNG,                         )
                                       )
               Defendant.              )

                               OPINION

SUE E. MYERSCOUGH, U.S. District Judge:

     Before the Court is Defendant Belinda Young’s Amended

Motion for Compassionate Release (d/e 104) requesting a reduction

in her term of imprisonment pursuant to 18 U.S.C. § 3582(c)(1)(A).

For the reasons set forth below, the motion is GRANTED.

                            I. BACKGROUND

     On March 26, 2015, Defendant pled guilty to conspiring to

distribute 5 kilograms or more of mixtures or substances containing

a detectable amount of cocaine and 280 grams or more of mixtures

or substances containing a detectable amount of crack cocaine in

violation of 21 U.S.C. §§ 841(a)(1) and 846, as charged in Count

One of the Indictment. On October 9, 2015, the Court sentenced


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Defendant to 120 months’ imprisonment and 8 years of supervised

release. Counts Three through Eight of the Indictment were

dismissed at Defendant’s sentencing.

     According to the Presentence Investigation Report (PSR)

prepared for Defendant’s sentencing, Defendant reported having

suffered a heart attack in 2013. PSR (d/e 89), ¶ 119. Defendant is

listed as standing 5 feet tall and weighing 180 pounds. Id. ¶ 114.

     Defendant is currently serving her sentence at the satellite

camp adjacent to FCI Pekin and has a projected release date of

October 11, 2022. As of July 2, 2020, the Bureau of Prisons (BOP)

reports that FCI Pekin currently has one confirmed case of COVID-

19. See BOP: COVID-19 Update, Federal Bureau of Prisons,

https://www.bop.gov/ coronavirus/ (last accessed July 2, 2020).

     On June 15, 2020, Defendant filed a pro se motion for

compassionate release (d/e 102) pursuant to 18 U.S.C. §

3582(c)(1)(A). Attached to this motion is a letter, dated May 5,

2020, from the warden of FCI Pekin denying Defendant’s request to

the BOP for compassionate release.

     On June 29, 2020, following the appointment of the Federal

Public Defender’s Office to represent Defendant, an Amended


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Motion for Compassionate Release was filed. Defendant requests

compassionate release due to her age, her health issues, the

relatively short time she has left to serve in BOP custody, and the

COVID-19 pandemic. Defendant is 58 years old, suffers from blood

clots in her legs and lungs that require her to take blood-thinning

medications daily, and had a heart attack in 2013.

     Defendant proposes to live with her daughter if she is released

from custody. The United States Probation Office, in a

Memorandum (d/e 108) addressing Defendant’s request for

compassionate release, states that the suitability of Defendant’s

daughter’s residence could not be ascertained, as no contact

information for Defendant’s daughter had been provided. The

Memorandum also notes that Defendant has not committed any

infractions while in BOP custody.

     On June 29, 2020, the Government filed a Response Opposing

Defendant’s Motion for Compassionate Release (d/e 107). The

Government argues that the absence of any confirmed COVID-19

cases at FCI Pekin and the steps that the BOP has taken to keep

COVID-19 out of its facilities warrant a denial of Defendant’s

Amended Motion for Compassionate Release. The medical


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treatment Defendant is receiving at FCI Pekin and the amounts of

controlled substances involved in her offense are given as additional

reasons to deny Defendant’s amended motion.

     On July 2, 2020, Defendant filed a Supplement to Amended

Motion for Compassionate Release (d/e 111). In the supplement,

Defendant notes that, unlike when Defendant’s amended motion

was filed, there is now one confirmed case of COVID-19 at FCI

Pekin.

                            II. ANALYSIS

     Generally, the Court is statutorily prohibited from modifying a

term of imprisonment once it has been imposed. See 18 U.S.C. §

3582(c). However, several statutory exceptions exist, one of which

allows the Court to grant a defendant compassionate release if

certain requirements are met. See 18 U.S.C. § 3582(c)(1)(A).

     Section 603(b)(1) of the First Step Act amended the statutory

language at 18 U.S.C. § 3582(c)(1)(A). See First Step Act of 2018,

Pub. L. No. 115-391, 132 Stat 5194. Prior to the First Step Act, the

Court could grant a defendant compassionate release only if the

Director of the BOP filed a motion seeking that relief. With the

enactment of the First Step Act, 18 U.S.C. § 3582(c)(1)(A) now


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allows an inmate to file a motion for compassionate release, but

only after exhausting administrative review of a BOP denial of the

inmate’s request for BOP to file a motion or waiting 30 days from

when the inmate’s request was received by the BOP, whichever is

earlier. The statute now provides as follows:

     The court, upon motion of the Director of the Bureau of
     Prisons, or upon motion of the defendant after the
     defendant has fully exhausted all administrative rights to
     appeal a failure of the Bureau of Prisons to bring a
     motion on the defendant’s behalf or the lapse of 30 days
     from the receipt of such a request by the warden of the
     defendant’s facility, whichever is earlier, may reduce the
     term of imprisonment (and may impose a term of
     probation or supervised release with or without
     conditions that does not exceed the unserved portion of
     the original term of imprisonment), after considering the
     factors set forth in section 3553(a) to the extent that they
     are applicable, if it finds that—

     (i) extraordinary and compelling reasons warrant such a
     reduction . . . and that such a reduction is consistent
     with applicable policy statements issued by the
     Sentencing Commission.

18 U.S.C. § 3582(c)(1)(A).

     Here, Defendant’s request to the warden of FCI Pekin that the

BOP to file a compassionate release motion on her behalf was

denied on May 5, 2020. Accordingly, the exhaustion requirement

set forth in 18 U.S.C. § 3582(c)(1)(A) has been satisfied.



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     As Defendant’s motion is properly before the Court, the Court

must determine whether Defendant is eligible for compassionate

release. For Defendant to be eligible for compassionate release, the

Court, after considering the factors set forth at 18 U.S.C. § 3553(a),

must determine that “extraordinary and compelling reasons”

warrant a reduction in Defendant’s term of imprisonment and that

the reduction is “consistent with applicable policy statements issues

by the Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A).

A.   Extraordinary and Compelling Reasons for Release

     Having considered the relevant factors set forth in 18 U.S.C. §

3553(a), the Court concludes that Defendant has established that

extraordinary and compelling reasons warrant a reduction in her

term of imprisonment. The spread of COVID-19 presents

extraordinary and unprecedented challenges for the country and

creates a serious issue for prisons. Due to the infectious nature of

the virus, the Centers for Disease Control and Prevention (CDC) and

state governments have advised individuals to practice good hygiene

and social distancing and isolation. Socially distancing can be

difficult for individuals living in a prison.

     In addition, based on the height and weight listed in the PSR


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for Defendant, her body mass index (BMI) is 35.2. The CDC’s

current position is that individuals with a BMI of 30 or higher are at

increased risk of severe illness from COVID-19. See People Who Are

at Higher Risk for Severe Illness - Coronavirus, Centers for Disease

Control and Prevention, https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/groups-at-higher-risk.html (last

accessed July 2, 2020). According to the CDC, Defendant’s 2013

heart attack and the fact that she suffers from blood clots in her

lungs may increase the risk that COVID-19 poses to her. See id.

As there is now a confirmed case of COVID-19 at FCI Pekin,

Defendant’s presence at the satellite camp adjacent to FCI Pekin

puts her at increased risk of contracting COVID-19.

     In addition, Defendant has served nearly six years of her

sentence with no infractions and is scheduled to be released in less

than two-and-a-half years. Defendant’s offense of conviction is a

nonviolent drug crime, and Defendant has a daughter who is

apparently willing to allow Defendant to live with her if Defendant is

released.

B.   Sentencing Commission Policy Statements

     A reduction of Defendant’s term of imprisonment is consistent


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with the Sentencing Commission’s policy statements. The relevant

policy statement, § 1B1.13 of the Sentencing Guidelines, explains

that a sentence reduction under § 3582(c)(1)(A) may be ordered

where a court determines, “after considering the factors set forth in

18 U.S.C. § 3553(a),” that “(1)(A) extraordinary and compelling

reasons warrant the reduction; . . . (2) the defendant is not a danger

to the safety of any other person or to the community, as provided

in 18 U.S.C. § 3142(g); and (3) the reduction is consistent with this

policy statement.” U.S.S.G. § 1B1.13.

      The commentary to § 1B1.13 provides certain circumstances

constituting “extraordinary and compelling reasons” that warrant a

sentence reduction.1 U.S.S.G. § 1B1.13 cmt. n.1. One of the

circumstances is where a defendant is “suffering from a serious

physical or medical condition . . . that substantially diminishes the

ability of the defendant to provide self-care within the environment

of a correctional facility and from which he or she is not expected to

recover.” U.S.S.G. § 1B1.13 cmt. n.1(A). Another circumstance is


1 Section 1B1.13 of the Sentencing Guidelines has not been amended to reflect
the First Step Act’s amendment to 18 U.S.C. § 3582(c)(1)(A). As it stands, §
1B1.13 refers to a reduction “upon the motion of the Director of the Bureau of
Prisons.” No policy statement provides guidance for when a defendant files a
motion. Nevertheless, the Court considers § 1B1.13.

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where “an extraordinary and compelling reason other than, or in

combination with,” the listed circumstances is present. U.S.S.G. §

1B1.13 cmt. n.1(D). Defendant’s health issues and the COVID-19

pandemic create an extraordinary and compelling reason that

warrants a reduction of Defendant’s term of imprisonment.

     The Court also considers whether Defendant is a danger to the

safety of any other person or to the community. See U.S.S.G. §

1B1.13. If Defendant quarantines herself at her daughter’s

residence away from her daughter, the quarantine will diminish the

risk of spreading the virus. Otherwise, the Court does not find that

Defendant, who is serving a sentence for a nonviolent drug offense,

poses a danger to the community.

     Defendant has established that extraordinary and compelling

reasons warrant a reduction in her term of imprisonment pursuant

to 18 U.S.C. § 3582(c)(1)(A). Such a reduction is consistent with the

applicable policy statements issued by the Sentencing Commission.

Accordingly, Defendant has satisfied the requirements to be eligible

for compassionate release, and the Court finds that compassionate

release is appropriate in this case.




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                           III. CONCLUSION

     For the reasons set forth above, Defendant Belinda Young’s

Amended Motion for Compassionate Release (d/e 104) is GRANTED.

The Court hereby reduces Defendant’s term of imprisonment from

120 months to time served. The Court modifies Defendant’s

conditions of supervised release to require Defendant to spend 14

days on home confinement, with the home confinement starting as

soon as possible after her term of supervised release begins. While

on home confinement, Defendant shall be monitored by telephone.

All other aspects of Defendant’s sentence shall remain the same.

Defendant’s pro se motion for compassionate release (d/e 102) is

DENIED as MOOT.

     The Bureau of Prisons is ORDERED to release Defendant

within 24 hours. The Clerk is DIRECTED to send a copy of this

Opinion to FCI Pekin. Defendant must self-quarantine for a period

of 14 days beginning at the time of her release, including while she

travels from FCI Pekin to her daughter’s residence. Defendant shall

travel to Springfield, Illinois, in a vehicle that allows her to follow

the CDC’s social distancing guidelines, which include staying at

least six feet from others and wearing a face mask and gloves.


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ENTER: July 2, 2020

                                  /s/ Sue E. Myerscough
                                  SUE E. MYERSCOUGH
                                  UNITED STATES DISTRICT JUDGE




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